Case 2:12-cv-03807-ES-JAD Document 50 Filed 05/12/14

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May 12, 2014

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Honorable Esther Salas

MLL. King Jr., Federal Building & U.S. Courthouse
50 Walnut Street

Newark, NJ 07102

Re: Jemas vs. CitiMortgage, Inc.
Civil Action No. 12-cv-03807
Defendant's Motion to Dismiss

Dear Judge Salas:

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Certified by the Supreme Court of
New Jersey as a Civil Trial Attomey

We represent defendant CitiMortgage. I write to confirm the deadline for the filing of the reply

brief with regard to the above motion.

By way of brief background, in an order dated March 21, 2014, the court terminated our
previously filed motion to dismiss and ordered that we re-file the motion promptly. See { 4 of
Doc. 45. The court order gave us ten days, and not the standard seven days, to file a reply brief.

Id.

Although the motion was initially to be returnable on May 5, 2014, plaintiffs' counsel obtained
a two week adjournment so that it is now returnable on May 19, 2014. Under the court rules,
our reply brief would be due on May 12, 2014, but under the court's March 21 order, our reply
brief should not be due until May 15, 2014. I have spoken with plaintiffs’ counsel and they

have consented to this brief extension.

I respectfully request that the court confirm that the reply brief is not due until May 15, 2014.

Respectfully submitted,
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bp— \eheits
William J. DeSantis
WJD/pmd
ce: Gareth De Santiago-Keene, Esquire (by ECF)

APA Limited Liability Partnership | Steven W. Suflas, Managing Partner

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